Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                Page 1 of 14 PageID 122



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS


  KELLIE STOKES, mom and friend of,
  B.S.
                                                  §
                  Plaintiff                       §
                                                  §
   v.                                             §    Civil Action No. 3:16-cv-2357-G
                                                  §
                                                  §
                                                  §
                                                  §        Complaint
  SOUTHWEST AIRLINES                              §
                                                  §        and;
                                                  §
                                                  §        Demand for Jury Trial
                                                  §
                                                  §
                  Defendants                      §


                                  AMENDED COMPLAINT


    COMES NOW the Plaintiff, B.S., by Counsel, Dennis McCarty and for his complaint

                          against the Defendant, alleges as follows:

                                  PRELIMINARY STATEMENT

         1. This is an action for actual, mental anguish, punitive, exemplary, costs, and

  attorney’s fees brought pursuant to AIR CARRIER ACCESS ACT (ACAA), 49 U.S.C.A.

  § 41705 )


                                  JURISIDICTION AND VENUE

         2. Jurisdiction of this Court is conferred by AIR CARRIER ACCESS ACT

  (ACAA), 49 U.S.C.A. § 41705 and 28 U.S.C. §1331 and supplemental jurisdiction exists

  for any state law claims pursuant to 28 U.S.C. §1367.



                                                  1
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                   Page 2 of 14 PageID 123



          3. Venue in this District is appropriate under 28 U.S.C. §1391(b)(2) because

  Defendant’s Corporate office is in Dallas, Texas

                                                PARTIES

          4. Plaintiff, B.S. (hereinafter Plaintiff) is a natural person and is

  a resident and citizen of Parker County, the State of Texas, United States of America.

  Plaintiff is an 11 year old minor and afflicted with Autism


          5.    Defendant, Southwest Airlines, (hereinafter Defendant, Southwest

  Airlines, or SWA), operates as a common carrier airline, subject to governmental

  regulations, with significant minimum contacts and business enterprise in the State of

  Texas. Defendant’s Corporate Office is in Dallas, Texas.

        6. Plaintiff has standing to bring this complaint because he is substantially

  impaired in major life activities according to the definitions provided by the Air Carriers

  Access Act.



                                 FACTUAL ALLEGATIONS

          7. Plaintiff incorporates the foregoing paragraphs as though the same were

  set forth at length herein.

          8. On August 13, 2014, Plaintiff was with his family, ending a family vacation,

  and attempted to board a Southwest Airlines plane in Oakland, CA, to his home

  destination of Love Field in Dallas, Texas.

          9. Plaintiff’s father was carrying a sibling’s car seat, and when they were going

  through security, the alarms went off on what appeared to be the car seat. Since it was

  taking so long, the family thought it would be best for Plaintiff’s father to carry the rest of



                                                     2
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                   Page 3 of 14 PageID 124



  the luggage and take the children up to the gate, while Plaintiff’s mother stayed behind.

  Minutes turned into an hour and it was apparent that they would most likely miss their

  flight, which they did. Nothing was wrong with the car seat and the alarm was faulty and

  had given an erroneous signal.

         10. The Southwest gate agents felt badly, due to a security error, that the family

  had missed their flight, so they began trying to find them another flight. The only option

  at that point, was a flight to Denver, CO, where the family would have to spend the night

  and continue on to Dallas in the morning. Plaintiff’s mother thanked the gate agents,

  who were very kind and commented on how sweet and well-mannered the three children

  were, and then the family headed to the next gate to board the flight to Denver. The

  family began walking down the jet bridge to board the flight and by this time, Plaintiff,

  who has been diagnosed as being on the Autism Spectrum, was extremely anxious. He

  wanted to make sure he knew exactly where they were now going and what the plan was,

  so going down the jet bridge, he asked his mother several times where they were going

  and what the plan was. Plaintiff’s mother had to repeat, several times in order to reassure

  Plaintiff, that, “Yes, Honey, we’re going to Denver first, and then home in the morning.”

  Plaintiff finally seemed perfectly content with that, when out of nowhere, the pilot

  (captain), who was walking behind them on the jet bridge, SHOUTED, after bending

  down into Plaintiff's face, that “YES, we are going to DENVER!!” He scared Plaintiff as

  well as the other two siblings, so, at that point, Plaintiff’s mother took all three children

  and told Plaintiff’s father, who was walking behind them with the luggage, “Turn around,

  we are NOT getting on this flight because it’s not safe.” The captain just smirked and

  laughed. The gate agent, who witnessed the incident, said, “I’m booking you on another




                                                     3
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                   Page 4 of 14 PageID 125



  flight immediately and I am so sorry.” She got a supervisor and they immediately filed a

  report and went to check the captain (so they said), to make sure he was not intoxicated

  or having rage issues. The only flight available at that point was to San Diego, CA, then

  home to Dallas in the morning, which Plaintiff and family boarded to San Diego.

         11. Plaintiff and family was forced, once they landed and deplaned, to leave the

  terminal, therefore they had no choice but to get a hotel room for four hours of sleep,

  before heading back to the airport. Plaintiff, on the morning of August 14, 2014, because

  of his disability and who needs extra sleep, was obviously exhausted and needed food

  before having his medication. As soon as the family got through security in San Diego

  airport that morning, with no car seat issues, they found a place to seat everyone and put

  down their luggage. Plaintiff’s father immediately went to stand in an extremely long

  line for food, at the only food place available. At that point, one sibling, a toddler, as

  toddlers can do, started trying to take away the video game that Plaintiff was playing.

  Plaintiff screamed and Plaintiff’s mother told the toddler that she could not have the

  game at that time. The toddler tried to get it again and Plaintiff then cried and ran away

  in the extremely busy terminal, packed with people. Plaintiff’s mother instructed

  Plaintiff’s older brother, at the time age 11, almost 12-year old, to quickly go and try to

  find Plaintiff’s father in line so that he could assist. When they didn’t return, Plaintiff’s

  mother asked the gate agent to get security to help get the nine-year old Autistic Plaintiff

  and help bring him back to the gate. By the time the officer showed up, Plaintiff was

  already back with Plaintiff’s mother. About that time, the gate agent informed Plaintiff’s

  mother that Plaintiff and family would not be allowed to board the flight for which they

  had been waiting! At that time, Plaintiff was perfectly calm and had been given




                                                     4
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                  Page 5 of 14 PageID 126



  something to eat and had taken his medication, to help with anxiety, which is a product of

  his Asperger’s (an Autism Spectrum Disorder). Plaintiff’s mother asked the gate agent to

  look at him and how calm he was. Plaintiff’s mother then asked for a supervisor. The

  supervisor was very nice and professional and said he saw no problem with Plaintiff or

  the other children and would talk with the captain of the flight. The supervisor returned

  and informed Plaintiff’s mother that the captain had said that no, the family was not

  welcome on the flight. Plaintiff’s mother asked the supervisor if he understood that that

  was a violation of the ADA. The supervisor said yes and that he was extremely sorry, but

  that it was the captain’s call. After being taken through the airport to the “new” flight,

  and finally boarding a flight to Albuquerque, NM, and then onto Dallas, Plaintiff and his

  family were finally on their way home to Dallas. Plaintiff sat next to two women on the

  flight to ABQ, and they commented on how sweet and polite he was.

         12. Once Plaintiff and family finally arrived home in Dallas, Texas, Plaintiff’s

  mother attempted to contact Southwest’s customer “service” agents. They were very

  rigid and it was difficult to get a phone call returned by a supervisor. The only thing they

  offered Plaintiff was a gift basket with some novelty items like pens and cups. Plaintiff’s

  mother also contacted the Southwest supervisor who had tried to help her at the San

  Diego airport. The San Diego supervisor actually told Plaintiff’s mother that the captain

  of the flight that they were not “allowed” to board, had called him once they landed and

  apologized, because he had felt after take-off that he had made the wrong decision!

         13. Defendant maliciously, willfully, and/or negligently violating the

   Statute AIR CARRIER ACCESS ACT (ACAA), 49 U.S.C.A. § 41705 .

         14. As a result of Defendants conduct, Plaintiff has suffered great




                                                    5
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                     Page 6 of 14 PageID 127



  emotional and mental pain and anguish, and all to Plaintiff’s great detriment and loss.

            15. At all times pertinent hereto, Defendant is acting by and through their

  agents, servants, and/or employees who were acting within the course and scope of their

  agency or employment, and under the direct supervision and control of the Defendant

  herein.

         16. At all times pertinent hereto, the conduct of the Defendants, as well as that of

  their agents, servants and/or employees, was malicious, intentional, willful, reckless, and

  in grossly negligent disregard for federal laws and the rights of the Plaintiff herein.

                                      CAUSES OF ACTION

            17. Plaintiff incorporates the foregoing paragraphs as though the same were set

  forth at length herein.

            18. This suit is based upon the Defendants violation of AIR CARRIER ACCESS

  ACT (ACAA), 49 U.S.C.A. § 41705. All causes of action were the producing causes of

  damages which Plaintiff suffered.


  COUNT I: AIR CARRIER ACCESS ACT (ACAA): 49 U.S.C.A. § 41705

            19. Plaintiff incorporates the foregoing paragraphs as though the same were

  set forth at length herein.

            20. Defendant didn’t allow Plaintiff to board the flight because of his disability.

            21. The Air Carrier Access Act (ACAA) prohibits air carriers from

  discriminating against passengers because of their disability.

            22. The Fifth Circuit as ruled that there is a private right of action pursuant to the

  ACAA. Please see Shinault v. Am. Airlines, Inc., 936 F.2d 796, 800 (5th Cir. 1991)




                                                      6
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                 Page 7 of 14 PageID 128



  (The legislative history of the ACAA indicates that Congress intended to provide a

  private cause of action under the ACAA and that cause of action would be consistent

  with the statutory scheme. See Tallarico v. Trans World Airlines, Inc., 881 F.2d 566,

  569–70 (8th Cir.1989). Private remedies for discrimination by airlines have traditionally

  emanated from federal legislation. See § 404(b) of the Federal Aviation Act of 1958, 49

  U.S.C. § 1374(b), repealed by Airline Deregulation Act of 1978, 49 U.S.C.App. §

  1551(a)(2)(B). We conclude, therefore, that a private cause of action exists under the

  ACAA.)

         23. The ACAA allows for private plaintiffs to recover all necessary and

  appropriate remedies. Please see Shinault v. Am. Airlines, Inc., 936 F.2d 796, 804 (5th

  Cir. 1991)(Because Congress did not limit the available remedies under the ACAA, we

  conclude that Congress intended to allow private plaintiffs to recover all necessary and

  appropriate remedies.); please further see Shinault v. Am. Airlines, Inc., 936 F.2d 796,

  804 (5th Cir. 1991)(We conclude that compensatory damages and emotional distress

  damages are necessary and appropriate under the ACAA. Finally, we need not decide

  whether punitive damages are recoverable because Shinault does not allege the type of

  wanton or malicious conduct that is required to recover punitive damages.). In this case,

  Plaintiff has alleged facts that Defendant’s conduct was wanton and malicious and is

  requesting Punitive Damages.


         24. As a result of Defendant’s conduct, Plaintiff has suffered great physical

  emotional and mental pain and anguish, including but not limited to exacerbation of

  existing medical and psychiatric conditions, severe emotional distress, extreme anxiety,

  humiliation, embarrassment and all to Plaintiff’s great detriment and loss.



                                                   7
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                    Page 8 of 14 PageID 129



            25. As a result of Defendant’s conduct, Plaintiff has suffered actual damages and

  all to Plaintiff’s great detriment and loss.

            26. At all times pertinent hereto, Defendant was acting by and through their

  agents, servants, and/or employees who were acting within the course and scope of their

  agency or employment, and under the direct supervision and control of the Defendant

  herein.

                27. At all times pertinent hereto, the conduct of the Defendant, as well as that

  of their agents, servants and/or employees, was malicious, intentional, willful, reckless,

  or grossly negligent disregard for federal and state laws and the rights of the Plaintiff

  herein.

                28. The conduct of Defendant was a direct and proximate cause, as well as a

  Substantial factor in bringing about the damages and harm to Plaintiff that are outlined

  above and, as a result, Defendants are liable to compensate Plaintiff for the full amount of

  actual, statutory damages, exemplary damages, costs and attorney fees as well as such

  other relief, permitted by law. Plaintiff will articulate their full extent once ascertained

  with particularity.


                                   COUNT II-NEGLIGENCE

            29. Plaintiff incorporates the foregoing paragraphs as though the same were

  set forth at length herein

            30. The Air Carrier Access Act does not preempt Plaintiff’s claim for Negligence.

  Please see Moore v. Nw. Airlines, Inc., 897 F. Supp. 313, 316 (E.D. Tex.

  1995)(Accordingly, the Court finds that the Plaintiff's state law tort claims are not

  preempted by the ACAA, and the defendant's motion for summary judgment is



                                                     8
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                  Page 9 of 14 PageID 130



  DENIED.)

          31. As a common carrier and facilitator of commercial airline passage, Defendant

  has an affirmative duty to train their employees about disability awareness, including the

  procedures and protocols necessary to avoid disability discrimination.

         32. Defendant’s conduct fell short of the duties owed by doing (and not limited

  to) the following; a) not allowing Plaintiff on the flight from San Diego to Dallas; b)

  failing to provide reasonable accommodations at the ticket counter when the tickets were

  erroneously cancelled and Plaintiff not allowed to board the flight; c) not providing

  Plaintiff with priority seating once the erroneous cancellation was resolved; d) evidencing

  disability discrimination first by the Flight Captain, ticket agent, and supervisor who were

  not familiar with autism, even after they were informed of Plaintiff’s disability; e) not

  properly training or supervising their employees about appropriate disability protocol and

  disability awareness; f) not providing Plaintiff with a claim resolution official as required

  by law; g) failing to provide Plaintiff with a written explanation as to why he was not

  allowed to board the flight.

             33. As a result of Defendant’s conduct, Plaintiff has suffered great physical

  emotional and mental pain and anguish, including but not limited to exacerbation of

  existing medical and psychiatric conditions, severe emotional distress, extreme anxiety,

  humiliation, embarrassment and all to Plaintiff’s great detriment and loss.

             34. As a result of Defendant’s conduct, Plaintiff has suffered actual damages

  and all to Plaintiff’s great detriment and loss.

            35. At all times pertinent hereto, Defendant was acting by and through their




                                                     9
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                    Page 10 of 14 PageID 131



   agents, servants, and/or employees who were acting within the course and scope of their

   agency or employment, and under the direct supervision and control of the Defendant

   herein.

               36. At all times pertinent hereto, the conduct of the Defendant, as well as that

   of their agents, servants and/or employees, was malicious, intentional, willful, reckless,

   or grossly negligent disregard for federal and state laws and the rights of the Plaintiff

   herein.

              37. The conduct of Defendant was a direct and proximate cause, as well as a

   Substantial factor in bringing about the damages and harm to Plaintiff that are outlined

   above and, as a result, Defendants are liable to compensate Plaintiff for the full amount of

   actual, statutory damages, exemplary damages, costs and attorney fees as well as such

   other relief, permitted by law. Plaintiff will articulate their full extent once ascertained

   with particularity.


        COUNT III-INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

              38. Plaintiff incorporates the foregoing paragraphs as though the same were

   set forth at length herein

             39. The Air Carrier Access Act does not preempt Plaintiff’s claim for

   Intentional Infliction of Emotional Distress. Please see Moore v. Nw. Airlines, Inc., 897

   F. Supp. 313, 316 (E.D. Tex. 1995)(Accordingly, the Court finds that the Plaintiff's state

   law tort claims are not preempted by the ACAA, and the defendant's motion for summary

   judgment is DENIED.)




                                                     10
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                   Page 11 of 14 PageID 132



                40. In doing the acts herein alleged, Defendant conducted themselves in a

   manner not tolerated within the bounds of decent society. Given the staggering numbers

   of persons with autism, the actions of Defendant is particularly egregious. Rather than

   acting as decent members of society, they intentionally chose to mimic, antagonize and

   impede Plaintiff’s access to public transportation, moreover, Defendant, while knowing

   Plaintiff’s particular vulnerabilities and with actual knowledge of his mental and

   emotional disorders, acted with malice, intolerable cruelty and willful disregard, and not

   consistent with a commercial carrier or agency of the United States Government.

             41. Defendant mocked and intimidated Plaintiff and acted without compassion of

   any kind.

             42. As a result of Defendant’s conduct, Plaintiff has suffered great physical

   emotional and mental pain and anguish, including but not limited to exacerbation of

   existing medical and psychiatric conditions, severe emotional distress, extreme anxiety,

   humiliation, embarrassment and all to Plaintiff’s great detriment and loss.

             43. As a result of Defendant’s conduct, Plaintiff has suffered actual damages and

   all to Plaintiff’s great detriment and loss.

             44. At all times pertinent hereto, Defendant was acting by and through their

   agents, servants, and/or employees who were acting within the course and scope of their

   agency or employment, and under the direct supervision and control of the Defendant

   herein.

              45. At all times pertinent hereto, the conduct of the Defendant, as well as that




                                                     11
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                    Page 12 of 14 PageID 133



   of their agents, servants and/or employees, was malicious, intentional, willful, reckless,

   or grossly negligent disregard for federal and state laws and the rights of the Plaintiff

   herein.

                46. The conduct of Defendant was a direct and proximate cause, as well as a

   Substantial factor in bringing about the damages and harm to Plaintiff that are outlined

   above and, as a result, Defendants are liable to compensate Plaintiff for the full amount of

   actual, statutory damages, exemplary damages, costs and attorney fees as well as such

   other relief, permitted by law. Plaintiff will articulate their full extent once ascertained

   with particularity.

                                    EXEMPLARY DAMAGES

                 47. Plaintiff would further show that the acts complained herein of

   Defendant were committed with fraud, malice, with gross negligence and with the

   specific and predetermined intention of enriching said Defendant at the expense of

   Plaintiff. In order to punish said Defendant for such unconscionable overreaching and to

   deter such actions in the future, Plaintiff also seeks recovery from Defendant for

   exemplary damages as provided by Texas Civil Practice & Remedies Code §41.001(5)



                                  DEMAND FOR JURY TRIAL

               48. Plaintiff demands trial by jury.

                                     PRAYER FOR RELIEF

   WHEREFORE, the Plaintiff seeks judgment in Plaintiff’s favor and damages

   against the Defendant, based on the following requested relief:

             (a) Actual damages in an amount to be determined at the time of trial;




                                                      12
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                 Page 13 of 14 PageID 134



         (b) Mental anguish damages in an amount to be determined at the time of trial

         (c) Punitive Damages pursuant to the Air Carrier Access Act(ACAA).

         (d) Attorney’s fees

         (e) Exemplary Damages pursuant to Texas Civil Practice & Remedies Code

            §41.001(5).

         (f) pre-post verdict interest

         (g) Such other and further relief as may be necessary, just and proper.



   Dated: November 17, 2016


                                         Respectfully submitted,

                                               /s/ Dennis McCarty________
                                               Dennis McCarty
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                                               817-704-3375
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                                                 13
Case 3:16-cv-02357-G-BN Document 17 Filed 12/22/16                Page 14 of 14 PageID 135




                                 CERTIFICATE OF SERVICE
   I hereby certify that on the 17th day of November, 2017, I electronically filed the
   foregoing with the Clerk of Court using the CM/ECF system which will send notification
   of such filing to the attorneys on record:




   Date Signed this the 17th day of November 17, 2016




                                        Respectfully submitted,

                                             /s/ Dennis McCarty_____________
                                             Dennis McCarty
                                             ATTORNEY FOR PLAINTIFF




                                                14
